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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

  UNITED STATES OF AMERICA                         §
                                                   §
                                                   § CASE NO. 9:11-CR-00033 (4) RC
  v.                                               §
                                                   §
                                                   §
  GARY JUSTIN KELLEY                               §
                                                   §

                    ORDER ADOPTING THE MAGISTRATE JUDGE'S
                        REPORT AND RECOMMENDATION

        The court referred a petition alleging violations of supervised release conditions to the

 Honorable Zack Hawthorn, United States Magistrate Judge, at Beaumont, Texas, for consideration

 pursuant to applicable laws and orders of this court. The court has received and considered the

 Report of the United States Magistrate Judge filed pursuant to such order, along with the record,

 pleadings and all available evidence.

        At the close of the revocation hearing, U.S. Magistrate Judge Zack Hawthorn

 recommended:

 1.     that the court find that the Defendant violated the third allegation in the petition that he
        failed to follow a standard condition of release;

 2.     that the Defendant’s supervised release should be revoked pursuant to 18 U.S.C. § 3583;
        and

 3.     the Defendant should be sentenced to a term of 8 months’ imprisonment, with no
        supervised release to follow to be served at the Federal Correctional Institute in Beaumont,
        Texas, if the Bureau of Prisons can accommodate such request.

        Neither party has filed objections to Judge Hawthorn’s Report and Recommendation.

 Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct and

 the report of the magistrate judge is ADOPTED. It is therefore
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       ORDERED and ADJUDGED that the petition is GRANTED and Gary Justin Kelley’s

 supervised release is REVOKED.

       Judgment and commitment will be entered separately, in accordance with the magistrate

 judge’s recommendations.

       So ORDERED and SIGNED this 16 day of June, 2017.




                                                 ___________________________________
                                                 Ron Clark, United States District Judge




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